                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                                        No. 3:08-CR-93-BR

UNITED STATES OF AMERICA,                               )
                                                        )
                v.                                      )               ORDER
                                                        )
BRYAN S. KOS                                            )
DAVID A. HAGEN                                          )

        On even date herewith, the undersigned held a telephone status conference. This order

memorializes the rulings made at that conference. Any motion or request to depose a foreign

witness shall be filed on or before 1 September 2008. All other motions shall be filed on or before

5 January 2009. This case hereby SET for trial on 4 May 2009 in Charlotte, North Carolina. The

government’s unopposed motion for a peremptory trial date is ALLOWED. Based on the

extraordinary amount of discovery, a significant amount of which is electronic in nature and a

significant amount of which involves foreign institutions, and to allow the parties adequate trial

preparation, the court finds that the ends of justice served by this trial date setting outweigh the best

interests of the defendants and the public in a speedy trial. Accordingly, the delay occasioned by

this trial date setting is hereby excluded from computation for speedy trial purposes pursuant to 18

U.S.C. § 3161(h)(8)(A).

        This 12 June 2008.




                                                __________________________________
                                                      W. Earl Britt
                                                      Senior U.S. District Judge




    Case 3:08-cr-00093-FDW-DCK               Document 10         Filed 06/12/08       Page 1 of 1
